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 5
                         UNITED STATES DISTRICT COURT
 6
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 7

 8   CYNTHIA BECKER, individually, and
     on behalf of all others similarly situated,    NO.
 9
                         Plaintiff,                 CLASS ACTION COMPLAINT
10
           v.
11
                                                          JURY DEMAND
     REAL ESTATE HEAVEN
12   INTERNATIONAL, INC., a California
     corporation,
13
                         Defendant.
14

15         This case addresses a disturbing trend whereby realtors cold call consumers
16   without consent violating the Telephone Consumer Protection Act. Plaintiff
17   Cynthia Becker (“Plaintiff Becker” or “Becker”) brings this Class Action
18   Complaint and Demand for Jury Trial against Defendant Real Estate Heaven
19   International, Inc. (“Defendant REH Real Estate” or “REH Real Estate”) to stop
20   the Defendant from violating the Telephone Consumer Protection Act by sending
21   telemarketing text messages without consent to consumers who registered their
22   phone numbers on the National Do Not Call registry (“DNC”). Plaintiff Becker,
23   for this Complaint, alleges as follows upon personal knowledge as to herself and
24   her own acts and experiences, and, as to all other matters, upon information and
25   belief, including investigation conducted by her attorneys.
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 1                                        PARTIES
 2         1.    Plaintiff Cynthia Becker is a resident of Bell, California.
 3         2.    Defendant REH Real Estate is a California registered corporation
 4 headquartered in Pasadena, California. Defendant REH Real Estate conducts

 5 business throughout this District.

 6                            JURISDICTION AND VENUE
 7         3.    This Court has federal question subject matter jurisdiction over this
 8 action under 28 U.S.C. § 1331, as the action arises under the Telephone Consumer

 9 Protection Act, 47 U.S.C. §227 (“TCPA”).

10         4.    This Court has personal jurisdiction over the Defendant since the
11 Defendant conducts business in this District and specifically marketed to Plaintiff

12 within this District. Venue is proper in this District since REH Real Estate has its

13 headquarters in this District and because Plaintiff resides in this District.

14                                   INTRODUCTION
15         5.    As the Supreme Court explained at the end of its last term,
16 “Americans passionately disagree about many things. But they are largely united in

17 their disdain for robocalls. The Federal Government receives a staggering number

18 of complaints about robocalls—3.7 million complaints in 2019 alone. The States

19 likewise field a constant barrage of complaints. For nearly 30 years, the people’s

20 representatives in Congress have been fighting back.” Barr v. Am. Ass'n of

21 Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6,

22 2020).

23         6.    The National Do Not Call Registry allows consumers to register their
24 telephone numbers and thereby indicate their desire not to receive telephone

25 solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).

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 1            7.     A listing on the Registry “must be honored indefinitely, or until the
 2 registration is cancelled by the consumer or the telephone number is removed by

 3 the database administrator.” Id.

 4            8.     When Congress enacted the TCPA in 1991, it found that telemarketers
 5 called more than 18 million Americans every day. 105 Stat. 2394 at § 2(3).

 6            9.     By 2003, due to more powerful autodialing technology, telemarketers
 7 were calling 104 million Americans every day. In re Rules and Regulations

 8 Implementing the TCPA of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

 9            10.    The problems Congress identified when it enacted the TCPA have
10 only grown exponentially in recent years.

11            11.    Industry data shows that the number of robocalls made each month
12 increased from 831 million in September 2015 to 4.7 billion in December 2018—a

13 466% increase in three years.

14            12.    According to online robocall tracking service “YouMail,” 4 billion
15 robocalls were placed in January 2021 alone, at a rate of 129.6 million per day.

16 www.robocallindex.com.

17            13.    The FCC also has received an increasing number of complaints about
18 unwanted calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and

19 232,000 complaints in 2018. FCC, Consumer Complaint Data

20 Center, www.fcc.gov/consumer-help-center-data.

21            14.    “Robocalls and telemarketing calls are currently the number one
22 source of consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls

23 (July 22, 2016), statement of FCC chairman. 1

24            15.    “The FTC receives more complains about unwanted calls than all
25 other complaints combined.” Staff of the Federal Trade Commission’s Bureau of

26
     1
27       https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
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 1 Consumer Protection, In re Rules and Regulations Implementing the Telephone

 2 Consumer Protection Act of 1991, Notice of Proposed Rulemaking, CG Docket

 3 No. 02-278, at 2 (2016). 2

 4         16.    In recent years a troubling trend has surfaced in the real estate
 5 industry where real estate agents are cold calling consumers soliciting their

 6 services without their consent, including calls that are being placed to consumers

 7 that registered their phone numbers on the DNC.

 8         17.    This trend has resulted in consumers being bombarded by unsolicited
 9 real estate solicitation calls without their consent and in violation of the TCPA.

10                              COMMON ALLEGATIONS
11         18.    REH Real Estate is a real estate corporation that works with
12 consumers to purchase and sell properties for a profit.

13         19.    The CEO/Founder of REH Real Estate is Paul Argueta.
14         20.    Argueta also works as an active realtor for REH Real Estate.
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     https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
26 consumer-protection-federal-communications-commission-rules-
   regulations/160616robocallscomment.pdf
   3
27 https://rehrealestate.com/about-us/
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 1             21.    Argueta in his role as CEO of REH Real Estate provides real estate
 2 training to REH Real Estate realtors. 4

 3             22.    REH Real Estate trains its realtors to place unsolicited calls/text
 4 messages to consumers in order to generate business.

 5             23.    In placing unsolicited calls/text messages to consumers, REH Real
 6 Estate is placing multiple calls/texts to phone numbers that are registered on the

 7 DNC, such as Plaintiff’s number.

 8             24.    In response to these calls/texts, Plaintiff Becker files this lawsuit
 9 seeking injunctive relief requiring the Defendant to cease from violating the

10 Telephone Consumer Protection Act, as well as an award of statutory damages to

11 the members of the Class and costs.

12

13        PAUL ARGUETA ENGAGES IN AND DIRECTS REH REAL ESTATE
                  REALTORS TO ENGAGE IN COLD CALLING
14
               25.    Argueta, in his capacity of CEO of REH Real Estate, provides training
15
     to REH Real Estate realtors through the REH Real estate website and YouTube.
16
               26.    Argueta posted an article and video on REHRealEstate.com entitled –
17
     “The Complete Guide to Cold Calling for Real Estate Agents:
18

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     4
27       https://rehrealestate.com/blog/free-video-training-for-real-estate-agents/
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13          27.    In the article, Argueta specifically states, “I hate making Cold Calls.
                   6
14 But I do them.”

15          28.    Argueta then goes on to state, “Our profession, like almost any job,
16 has its dark sides, and one of them is cold calling,” and later, “I’ve spent the last
                                                        7


17 20 years of my career prospecting over the phone and I’ve built 3 multi-million

18 dollar companies doing it.”

19          29.    On his own website PaulArgueta.com, Argueta posted an article
20 regarding cold calling entitled – “A Cold Call Script For Real Estate Agents Who

21 Hate Cold Calling.”
                       8


22

23

24

25   5
     https://rehrealestate.com/videos/the-complete-guide-to-cold-calling-for-real-estate-agents/
     6
26 7 Id.
     Id.
   8
27 https://paulargueta.com/a-cold-call-script-for-real-estate-agents-who-hate-cold-calling/
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 1             30.    This article promotes the importance of cold calling to generate real
 2 estate business and provides training on how to conduct cold calls effectively

 3 through the use of a script Argueta wrote in order to close more sales.

 4             31.    Argueta posted a video and article on REHRealEstate.com featuring a
 5 training session Argueta held with REH Real Estate realtors regarding placing

 6 unsolicited calls to consumers with expired property listings wherein the property

 7 was listed by a realtor but did not sell:

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21             32.    In the video that is attached to the article, Argueta provides training
22 on how to source consumer cell phone numbers based on his own personal

23 experience stating, “I use an auto dialer. Okay? Now there was a time where I was

24 a little bit more crazy and I have 2 headsets. Mine, right, and I have one laptop

25 running Mojo and I’d have another laptop running Vulcan and whichever one

26
     9
27       https://rehrealestate.com/videos/expired-listing-video-training/
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 1 answered first was who I would speak to, okay? And it was pretty intense. Alright?

 2 And so I will say that I don’t necessarily recommend doing that until you’re a little

 3 more advanced but it works. Okay, so there’s Vulcan7, there’s MojoSells, there’s

 4 RedX and then there’s ArchDialer. Okay, you can research that ones that you like,

 5 figure out the one that fits your business model. My recommendation is Vulcan

 6 and Mojo. Okay? Now as far as I can tell Vulcan is much more accurate on the

 7 telephone numbers that it provides. In other words, I’m able to reach people on

 8 their cell phones…”10 (emphasis added)

 9                         PLAINTIFF BECKER’S ALLEGATIONS
10            33.    Plaintiff Becker registered her cell phone number on the DNC on
11 August 29, 2006 for the express purpose that she would not receive unsolicited

12 calls.

13            34.    Plaintiff Becker’s phone number is not associated with a business and
14 is used for personal use only.

15            35.    On February 18, 2021 at 6:55 PM, Plaintiff received 2 identical
16 unsolicited text messages that were sent by Defendant, from phone number 323-

17 880-1501 to her cell phone:

18

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     10
27        https://www.youtube.com/watch?v=bbje1TfaPrY - 11 minutes, 9 seconds
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           36.   The text messages that Plaintiff received are solicitations encouraging
19
     the sale of Plaintiff’s home that would earn revenue for the REH Real Estate agent
20
     who sent her the text messages.
21
           37.   The text messages were sent on or on behalf of Defendant’s CEO,
22
     Paul Argueta, and reference his California real estate license number 01223040
23
     which belongs to Argueta:
24

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11            38.    Plaintiff Becker was not, and is not interested in selling her property.
12 She was not looking to solicit the services of any real estate agents.

13            39.    Plaintiff Becker has never provided her phone number to or consented
14 to be called by REH Real Estate or any of its realtors.

15            40.    The unauthorized solicitation telephone text messages that Plaintiff
16 received from REH Real Estate, as alleged herein, have harmed Plaintiff Becker in

17 the form of annoyance, nuisance, and invasion of privacy, and disturbed the use

18 and enjoyment of her phone, in addition to the wear and tear on the phone’s

19 hardware (including the phone’s battery) and the consumption of memory on the

20 phone.

21            41.    Seeking redress for these injuries, Plaintiff Becker, on behalf of
22 herself and a Class of similarly situated individuals, bring suit under the Telephone

23 Consumer Protection Act, 47 U.S.C. § 227, et seq., which prohibits unsolicited

24 telemarketing text messages to telephone numbers that are registered on the DNC.

25

26   11
          https://www2.dre.ca.gov/PublicASP/pplinfo.asp?start=1
27
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 1                                  CLASS ALLEGATIONS
 2        42.    Plaintiff Becker brings this action pursuant to Federal Rules of Civil
 3 Procedure 23(b)(2) and 23(b)(3) and seek certification of the following Class:

 4        Do Not Call Registry Class: All persons in the United States who from four
 5
          years prior to the filing of this action through trial (1) Defendant (or an agent
          acting on behalf of the Defendant) called/texted more than one time, (2)
 6        within any 12-month period, (3) where the person’s residential telephone
 7
          number had been listed on the National Do Not Call Registry for at least
          thirty days, (4) for substantially the same reason Defendant called/texted
 8        Plaintiff, and (5) for whom Defendant claims it obtained the person’s
 9
          number in substantially the same manner it obtained Plaintiff’s number.

10        43.    The following individuals are excluded from the Class: (1) any Judge
11 or Magistrate presiding over this action and members of their families; (2)

12 Defendant, their subsidiaries, parents, successors, predecessors, and any entity in

13 which either Defendant or its parents have a controlling interest and their current or

14 former employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons who

15 properly execute and file a timely request for exclusion from the Class; (5) the

16 legal representatives, successors or assigns of any such excluded persons; and (6)

17 persons whose claims against Defendant have been fully and finally adjudicated

18 and/or released. Plaintiff Becker anticipates the need to amend the Class

19 definitions following appropriate discovery.

20        44.    Numerosity: On information and belief, there are hundreds, if not
21 thousands of members of the Class such that joinder of all members is

22 impracticable.

23        45.    Commonality and Predominance: There are many questions of law
24 and fact common to the claims of the Plaintiff and the Class, and those questions

25 predominate over any questions that may affect individual members of the Class.

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 1 Common questions for the Class include, but are not necessarily limited to the

 2 following:

 3        (a)    whether Defendant REH Real Estate systematically sent multiple text
 4               messages to Plaintiff and other consumers whose telephone numbers
 5               were registered with the DNC without first obtaining consent to send
 6               the texts;
 7        (b)    whether Defendant REH Real Estate’s texts to Plaintiff and other
 8               consumers were sent for telemarketing purposes;
 9        (c)    whether Defendant’s conduct constitutes a violation of the TCPA; and
10        (d)    whether members of the Class are entitled to treble damages based on
11               the willfulness of Defendant’s conduct.
12        46.    Adequate Representation: Plaintiff Becker will fairly and adequately
13 represent and protect the interests of the Class, and has retained counsel competent

14 and experienced in class actions. Plaintiff Becker has no interests antagonistic to

15 those of the Class, and Defendant has no defenses unique to Plaintiff. Plaintiff

16 Becker and her counsel are committed to vigorously prosecuting this action on

17 behalf of the members of the Class, and have the financial resources to do so.

18 Neither Plaintiff Becker nor her counsel have any interest adverse to the Class.

19        47.    Appropriateness: This class action is also appropriate for
20 certification because Defendant has acted or refused to act on grounds generally

21 applicable to the Class and as a whole, thereby requiring the Court’s imposition of

22 uniform relief to ensure compatible standards of conduct toward the members of

23 the Class and making final class-wide injunctive relief appropriate. Defendant’s

24 business practices apply to and affect the members of the Class uniformly, and

25 Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect

26 to the Class as wholes, not on facts or law applicable only to Plaintiff Becker.

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 1 Additionally, the damages suffered by individual members of the Class will likely

 2 be small relative to the burden and expense of individual prosecution of the

 3 complex litigation necessitated by Defendant’s actions. Thus, it would be virtually

 4 impossible for the members of the Class to obtain effective relief from Defendant’s

 5 misconduct on an individual basis. A class action provides the benefits of single

 6 adjudication, economies of scale, and comprehensive supervision by a single court.

 7                           FIRST CLAIM FOR RELIEF
                         Telephone Consumer Protection Act
 8                            (Violation of 47 U.S.C. § 227)
 9                (On Behalf of Plaintiff and the Do Not Registry Class)

10
           48.    Plaintiff Becker repeats and realleges paragraphs 1 through 47 of this

11
     Complaint and incorporates them by reference.

12
           49.    The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c),

13
     provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]

14
     residential telephone subscriber who has registered her or her telephone number on

15
     the national do-not-call registry of persons who do not wish to receive telephone

16
     solicitations that is maintained by the federal government.”

17
           50.    Any “person who has received more than one telephone call within

18
     any 12-month period by or on behalf of the same entity in violation of the

19
     regulations prescribed under this subsection may” may bring a private action based

20
     on a violation of said regulations, which were promulgated to protect telephone

21
     subscribers’ privacy rights to avoid receiving telephone solicitations to which they

22
     object. 47 U.S.C. § 227(c).

23
           51.    Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to

24
     be initiated, telephone solicitations to telephone subscribers such as Plaintiff and

25
     the Do Not Call Registry Class members who registered their respective telephone

26
     numbers on the National Do Not Call Registry, a listing of persons who do not

27
     wish to receive telephone solicitations that is maintained by the federal
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 1 government.

 2        52.    Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do
 3 Not Call Registry Class received more than one telephone call/text message in a

 4 12-month period made by or on behalf of the Defendant in violation of 47 C.F.R. §

 5 64.1200, as described above.

 6        53.    As a result of Defendant’s conduct as alleged herein, Plaintiff and the
 7 Do Not Call Registry Class suffered actual damages and, under section 47 U.S.C. §

 8 227(c), are entitled, inter alia, to receive up to $500 in damages for such violations

 9 of 47 C.F.R. § 64.1200.

10        54.    To the extent Defendant’s misconduct is determined to be willful and
11 knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of

12 statutory damages recoverable by the members of the Do Not Call Registry Class.

13                                   PRAYER FOR RELIEF
14        WHEREFORE, Plaintiff Becker, individually and on behalf of the Class,
15 prays for the following relief:

16        55.    An order certifying this case as a class action on behalf of the Class as
17 defined above; appointing Plaintiff Becker as the representative of the Class; and

18 appointing her attorneys as Class Counsel;

19        56.    An award of actual and/or statutory damages and costs;
20        57.    An order declaring that Defendant’s actions, as set out above, violate
21 the TCPA;

22        58.    An injunction requiring Defendant to cease all unsolicited calling
23 activity, and to otherwise protect the interests of the Class; and

24        59.    Such further and other relief as the Court deems just and proper.
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 1                                       JURY DEMAND
 2        Plaintiff Becker requests a jury trial.
 3

 4
     DATED this 24th day of March, 2021.

 5                                          CYNTHIA BECKER, individually and on
 6
                                            behalf of all others similarly situated,

 7                                          By: /s/ Rachel E. Kaufman
 8                                          Rachel E. Kaufman
                                            rachel@kaufmanpa.com
 9                                          KAUFMAN P.A.
10                                          400 NW 26th Street
                                            Miami, FL 33127
11                                          Telephone: (305) 469-5881
12
                                            Attorney for Plaintiff and the putative Class
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